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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Southern Division)

JOHN DOE                                                     )
                                                             )
                          Plaintiff                          )
                                                             )
        v.                                                   )       No. 22-CV-00872-PX
                                                             )
THE UNIVERSITY OF MARYLAND,                                  )
     COLLEGE PARK, et al.                                    )
                                                             )
                          Defendants                         )
                                                             )

             MOTION FOR SUMMARY JUDGMENT AS TO RACHEL SALEM
                          (Amended Complaint (Corrected))

        Now come the Defendant, Rachel Salem, by her attorneys, John J. Condliffe, Esq., Debra

B. Cruz, Esq., and Levin Gann PA, pro bono publico, on referral from the Maryland Coalition

Against Sexual Assault, who moves for summary judgment as to Rachel Salem and in support

thereof, states 1:

        1.       At no time was Rachel Salem in any way involved in the events specified in the

Complaint. The assertions that Ms. Salem was involved are nothing more than wild speculation

on the part of Plaintiff and, quite frankly, his many counsel who had a duty to investigate before

filing such an inflammatory lawsuit.

        2.       On October 14, 2021, Ms. Salem returned to her parent’s home in New York due

to medical issues. On October 15, 2021, she saw her primary care physician, Dr. Kathryn Alcarez,

who certified that she should not attend school in person due to the medical issues but could attend




1
 Counsel apologizes that this pleading may be one day late. The undersigned may have misinterpreted the court’s
August 2, 2022 order on whether this motion also needed to be re-filed along with the Answer to Amended
Complaint (Corrected).

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class remotely. The physician note was through December 1, 2021. See Exhibit 1, filed under

seal.

        3.      As a result, the University permitted her to attend classes remotely and the time

frame was extended through the full Fall semester. See Exhibit 2, Affidavit of Rachel Salem.

        4.      Ms. Salem returned to the campus on December 26, 2021 to get some belongings

and did not return again until January 19, 2022. See Exhibit 2, Affidavit of Rachel Salem.

        5.      While some of the events complained of allegedly occurred after that date, Ms.

Salem was not involved. See Exhibit 2, Affidavit of Rachel Salem.

        WHEREFORE, Defendant Salem requests that summary judgment be granted in favor of

Defendant Rachel Salem and against Plaintiff.


                                                     John J. Condliffe
                                                     ______________________________
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